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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

IN RE:                           )
                                 )                          Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, LLC, )
d/b/a  WASHINGTON     COUNTY )                              Chapter 11
HOSPITAL,                        )
                                 )
          Debtor.                )
                                 )

   TRUSTEE’S MOTION FOR AUTHORITY PURSUANT TO SECTION 363(B) OF
 BANKRUPTCY CODE TO ENTER INTO LEASE AGREEMENT BETWEEN DEBTOR
 AND HOSPITAL EQUIPMENT RENTAL, LLC FOR GE LIGHT SPEED 16 SLICE CT
                            SCANNER

       Thomas W. Waldrep, Jr., Chapter 11 trustee in the above-captioned case (the “Trustee”),

hereby moves for the entry of an Order pursuant to Sections 363(b), 554(a), and 1108 of Title 11 of

the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) authorizing the Trustee to

enter into a certain lease agreement (the “Lease Agreement”) for a GE Light Speed 16 Slice CT

Scanner (the “GE Scanner”) on behalf of the Debtor and by and between the Debtor and Hospital

Equipment Rental, LLC, an Oklahoma limited liability company (the “Lessor”). In support of this

Motion, the Trustee respectfully states as follows:

                                 JURISDICTION AND VENUE

       1.      This United States Bankruptcy Court for the Eastern District of North Carolina (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and this matter is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief requested herein are Sections 363(b) and

1108 of the Bankruptcy Code.
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                                  FACTUAL BACKGROUND

          4.    On February 19, 2019 (the “Petition Date”), Washington County, North Carolina,

Medline Industries, Inc., and Dr. Robert Venable (collectively, the “Petitioning Creditors”) filed an

involuntary petition for relief under Chapter 7 of the Bankruptcy Code against the Debtor.

          5.    On February 20, 2019, the Petitioning Creditors filed an Emergency Motion for Order

Appointing Trustee Pursuant to 11 U.S.C. § 303(g) [Dkt. No. 5].

          6.    On February 22, 2019, the Court entered an Order approving the appointment of the

Trustee [Dkt. No. 14]. The Trustee is the duly appointed, qualified and acting trustee of the Debtor’s

Estate.

          7.    On February 25, 2019, the Trustee filed an Emergency Ex Parte Motion for Order for

Authority to Operate Washington County Hospital Pursuant to 11 U.S.C. § 303(g) [Dkt. No. 18].

          8.    On February 26, 2019, the Court entered an Order authorizing the Trustee to operate

the business of the Debtor during the period of time that the Trustee remains in place, to the

exclusion of any other parties [Dkt. No. 19].

          9.    On March 14, 2019, the Debtor filed an Emergency Motion for Entry of Order for

Relief and to Convert Involuntary Chapter 7 Case to Chapter 11 Case and Consent to Appointment

of Chapter 11 Trustee [Dkt. No. 27].

          10.   On March 15, 2019, the Court entered an Order for Relief in the Debtor’s Chapter 7

case and simultaneously converted the Debtor’s case from one under Chapter 7 to one under Chapter

11 of the Bankruptcy Code [Dkt. No. 28].

          11.   The Debtor owns Washington County Hospital (“WCH”), a twenty-five bed, for-

profit, Critical Access Hospital (“CAH”) in Plymouth, North Carolina. Until February 14, 2019,

WCH provided acute care, swing bed, emergency medicine, imaging, rehabilitation, laboratory, and


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related outpatient ancillary services to residents in Plymouth and in surrounding communities. WCH

also operates Plymouth Primary Care Rural Health Clinic (the “Clinic”), a Provider-Based Rural

Health Clinic. The Clinic is adjacent to WCH.

Pre-Petition Management of WCH

           12.      Upon information and belief, through and until January 7, 2019, EmpowerHMS LLC

(“EmpowerHMS”) managed WCH under one or more contracts with the Debtor. EmpowerHMS is a

Delaware limited liability company headquartered in Kansas City, Kansas. Upon information and

belief, EmpowerHMS formerly provided the financial support, legal support, centralized business

office, and revenue cycle and IT services necessary to WCH’s operations.

           13.      Upon information and belief, as of January 7, 2019, EmpowerHMS no longer

operated or managed WCH, the management of which was transferred by EmpowerHMS to

iHealthcare Management II Company (“Manager”), a Florida Corporation, pursuant to (i) a

Management and Administrative Services Agreement (the “Management Agreement”) dated as of

January 7, 2019, by and between the Debtor and Manager; (ii) an EHR and RCM Services Agreement

dated as of January 7, 2019 by and between the Debtor and iHealthcare Software Services, Inc.

(“Consultant”),1 a Florida Corporation; and (iii) an IT Help Desk Support & Daily Backup Services

Agreement also dated as of January 7, 2019 by and between the Debtor and Consultant (together with

the EHR and RCM Services Agreement, collectively, the “Services Agreements”).

           14.      Upon information and belief, after January 7, 2019, iHealthcare attempted to begin

managing CAH, but such efforts were delayed by a number of transition and financial issues with

EmpowerHMS.




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    Manager and Consultant shall hereinafter be referred to collectively as “iHealthcare.”


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Post-Petition Management of WCH

       15.    On March 21, 2019, the Trustee filed an Emergency Motion for Authority to (1)

Reject Certain Executory Contracts with iHealthcare Management II Company and iHealthcare

Software Services, Inc. and (2) Enter into Interim Management Agreement with iHealthcare

Management II Company and iHealthcare Software Services, Inc. [Dkt. No. 47].

       16.    On April 2, 2019, the Court entered an Order allowing the Trustee’s Emergency

Motion for Authority to (1) Reject Certain Executory Contracts with iHealthcare Management II

Company and iHealthcare Software Services, Inc. and (2) Enter into Interim Management

Agreement with iHealthcare Management II Company and iHealthcare Software Services, Inc. [Dkt.

No. 76].

       17.    On a post-petition basis, iHealthcare served as the Debtor’s management company

from April 2, 2019 to May 12, 2019 and assisted the Trustee in reopening WCH.

       18.    On May 12, 2019, iHealthcare provided the Trustee with a thirty (30) day notice to

terminate agreement.

       19.    To preserve the Debtor’s estate and maintain management at WCH, the Trustee

entered into an Interim Management Agreement with Affinity Health Partners, LLC (“Affinity”) on

May 13, 2019, in the ordinary course of business.

       20.    On June 12, 2019, the Trustee filed the Trustee’s Motion for Order Confirming

Management Agreement Executed by Trustee in Ordinary Course of Business [Dkt. No. 287]. On

July 9, 2019, the Court entered the Order Granting Trustee’s Motion for Order Confirming

Management Agreement Executed by Trustee in Ordinary Course of Business [Dkt. No. 317].

The Current CT Scanning Equipment and the Proposed Lease Agreement

       21.    The current CT scanner at WCH, the Toshiba Scanner, was purchased as refurbished


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equipment approximately ten (10) years ago.

       22.     While the sixteen-slice technology remains generally adequate for WCH’s use, the

Toshiba Scanner suffers from mechanical and technical failures that, upon information and belief and

based upon a review of the Toshiba Scanner by Affinity, appear to be the result of inconsistent

maintenance, age, and constant use. The Toshiba Scanner currently needs around $16,000 in repairs.

       23.     Further, the Toshiba Scanner is a tube-cooled unit, which extends the time between

possible utilizations of the scanner, limiting both inpatient and outpatient access. The age and

condition of the Toshiba Scanner often results in necessary repeat scans, creating concerns about

patient radiation exposure and concerns of misdiagnoses. These same issues also reduce the

revenues for WCH that are realized through the provision of CT scans for both private pay and

Medicare/Medicaid payors in the community. Further, the problems with the Toshiba Scanner have

impacted WCH’s ability to accept referrals from ambulatory services.

       24.     Affinity has reviewed the records at WCH and informed the Trustee that, over the

past several years, WCH has conducted approximately 898 CT scans per year. This number could be

higher but for the mechanical issues with the Toshiba Scanner as well as its functional limitations.

       25.     Upon information and belief, it would cost the estate approximately $10,000 to move

the Toshiba Scanner to another location. Due to the Toshiba Scanner’s age and current condition, it

would be of little to no value on the resale market. Upon information and belief, a radiological

salvage company could remove the Toshiba Scanner from the WCH facility with little or no cost

incurred by the estate.

       26.     Having reviewed alternative courses of action—such as taking no action or

purchasing a new machine outright—and having consulted with Affinity concerning the costs and

benefits expected from leasing a new CT scanner for WCH, the Trustee has identified the Lease


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Agreement, attached hereto as Exhibit A, by and between the Debtor and the Lessor, as the best

option for maintaining and improving the provision of CT scanning services at WCH.

       27.     The GE Scanner, which is the subject of the Lease Agreement, is a newer machine

with a higher operating capacity than the Toshiba Scanner, requiring less time to cool between

patients. Further, the Lease Agreement includes provisions for on-call repair and a preventative

maintenance support for the GT Scanner throughout the term of the Lease Agreement.

       28.     The payments proposed under the Lease Agreement include monthly ACH payments

of $5,300.00 for the sixty (60) month term of the Lease Agreement, as well as certain hourly fees for

travel and services rendered other than those described in the Lease Agreement as Emergency

Service and Preventative Maintenance Service.

                                     RELIEF REQUESTED

       29.     The Trustee seeks an order authorizing him, in his sole and absolute discretion and

pursuant to Section 363(b) of the Bankruptcy Code, to enter into the Lease Agreement on behalf of

the Debtor.

                                      BASIS FOR RELIEF

       30.     The Trustee has the authority to operate the Debtor’s business pursuant to 11 U.S. C.

§ 1108. The Trustee also has the authority to use the property of the estate in the ordinary course of

the Debtor’s business. 11 U.S. C. § 363(b)(1) and (c)(1).

       31.     The Toshiba Scanner is was purchased used approximately ten years ago. It currently

needs around $16,000 in repairs to restore it to full functionality. Even in optimum condition, the

dated cooling technology unnecessarily constrains WCH’s ability to conduct multiple CT scans in

relatively quick succession, which would be possible with more modern equipment. Finally, the

dated Toshiba Scanner would fetch little to no value on the resale market, as it (i) currently needs


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costly repairs and (ii) would require the estate to incur the substantial expense of relocation if sold,

regardless of condition.

       32.     The Toshiba Scanner is a constraint on the Debtor’s ability to provide medical

services and realize the revenues otherwise possible with newer, well-maintained equipment. The

Trustee is informed and believes that a radiological salvage company could remove the Toshiba

Scanner from WCH at little or no cost to the estate, which would be a necessary prerequisite to the

installation of the new GE Scanner.

       33.     Entering into the Lease Agreement, so as to replace the old Toshiba Scanner with a

newer GE Scanner, may be outside the ordinary course of business. If so, this Court must approve

the payments pursuant to 11 U.S. C. § 363(b) upon the showing of a sound business reason for doing

so. See In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983) (“The rule we adopt requires that a

judge determining a § 363(b) application expressly find from the evidence presented before him at

the hearing a good business reason to grant such an application.”); see also In re Stiletto Mfg., Inc.,

588 B.R. 762, 768 (Bankr. E.D.N.C. 2018) (citing Lionel Corp and In re FCX, Inc., 60 B.R. 405, 411

(E.D.N.C. 1986) regarding the application of the business judgment standard to applications under

Section 363(b) of the Bankruptcy Code).

       34.     Good business reasons exist to grant the Trustee’s request to enter into the Lease

Agreement. The current Toshiba Scanner suffers from mechanical and technical issues that limit its

operational capacity, require costly repairs, and prevent the Debtor from realizing increased revenues

from the acceptance of additional referrals from ambulatory services. Although the proposed outlays

associated with the Lease Agreement are expected to be at least $318,000 over the course of the

Lease Agreement’s Term, the included maintenance services and the ability to conduct more CT

scans—with fewer repeat scans and between-patient downtime—are expected to realize increased


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revenues above and beyond the costs associated with the Lease Agreement. Therefore, the benefits

of the Lease Agreement not only extend to the Debtor, but the Debtor’s patients, community, and

creditors as well.

       WHEREFORE, the Trustee respectfully requests that the Court enter an Order:

       A.      Granting the Trustee the authority in his sole and absolute discretion to enter into the

Lease Agreement attached hereto as Exhibit A on behalf of the Debtor; and

       B.      Granting such other and further relief as the Court deems just and proper.

       Respectfully submitted, this the 15th day of July, 2019.

                                       WALDREP LLP

                                       /s/ Jennifer B. Lyday
                                       Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                       James C. Lanik (NC State Bar No. 30454)
                                       Jennifer B. Lyday (NC Bar No. 39871)
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                                      - and –

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                                      Attorneys for the Trustee




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                        EXHIBIT A




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         Hospital Equipment Rental Company
                 EQUIPMENT RENTAL AGREEMENT
         This Rental Agreement is by and between Hospital Equipment Rental Company located at
 21900 E. 96th Street, Broken Arrow, OK 74014, hereinafter referred to as "RENTAL SERVICE", also
 referred to as "WE", and Washington County Hospital located at 958 US Highway 64 East, Plymouth,
 NC, 27962, hereinafter referred to as "CUSTOMER", also referred to as "YOU", is entered into and
 becomes effective on TBD

         Equipment Location: Washington County Hospital, Plymouth, NC

 You agree to rent the following equipment (the “Equipment”) described on the attached Schedule A.
 The Equipment will be covered by parts and service warranty described on the attached Schedule B.

         The RENTAL AGREEMENT TERM shall be Sixty (60) months, commencing on TBD, and
         ending on TBD.

 As rent for the Equipment, you will pay sixty (60) month rental payments of $5,300.00 each payable
 on the first day of each month during the rental agreement term. All payments must be made by ACH
 monthly debit.

                              RENTAL TERMS AND CONDITIONS

         You request that we rent to you the Equipment for business or commercial purposes. Your
 offer will be binding upon us when we accept it by having an authorized employee sign it. All rental
 payments and other sums due and to become due shall be payable to us at our address shown above
 until we direct you otherwise in writing.


    1.      RENTAL SERVICE REQUIREMENTS. We will provide the Equipment full-time, 24-
            hours per day, 7 days per week. We will deliver the Equipment as described in Schedule A
            attached hereto, in good running order and will provide a parts and labor warranty, only,
            subject to all the terms and conditions of this rental agreement and schedules.

    2.      CUSTOMER REQUIREMENTS. You will provide your own management, professional
            and technical personnel. You will provide us with a prepared parking pad and/or room with
            an adequate electrical power supply and all other necessary site provisions required by
            existing and future codes to install and operate the Equipment, i.e. permits and licenses.
            You will provide the technologist and all consumable materials.

    3.      WARRANTIES. Notwithstanding anything stated in Paragraph 1 or elsewhere in this
            document, you acknowledge that we did not design or manufacture the Equipment and that
            we make no warranties, express or implied, nor shall any warranties arise by operation of
            law, as to the Equipment, specifically including, but not limited to, fitness for any particular
            purpose or use, merchantability, design, capacity or performance. We will assign any
            warranties made by any seller or manufacturer of the Equipment to you during the term of

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          this Rental Agreement. Any claim concerning the Equipment, regardless of the cause or
          consequence, shall be made only against the seller or manufacturer of the Equipment.

    4.    RENTAL TERM; TERMINATION. This Rental Agreement begins when we accept
          your offer of rent and continues for the number of months shown above as the rental
          agreement term and ends after you have fulfilled all of your obligations. This Rental
          Agreement can be terminated by mutual agreement after 90 days of providing written
          termination notice.

    5.    PAYMENT: You will pay each and every rental payment as shown above via automatic
          ACH debit, the first of which is due on the acceptance of this Rental Agreement and will
          be applied to the first and last months’ rent. Regardless of any dispute with the seller or
          manufacturer of the Equipment, including, but not limited, to disputes under the seller’s or
          manufacturer’s warranties or any equipment maintenance agreement, or loss or damage to
          the Equipment or for any other reason, you are required to pay us.

    6.    EQUIPMENT LOCATION. The Equipment shall be delivered to and not removed
          without our consent from the "equipment location" shown above. We shall have the right
          to inspect the Equipment at any reasonable time during business hours.

    7.    REPAIRS; USE; ALTERATION. At our own cost and expense, we shall keep the
          Equipment in good repair, condition and working order. You shall use the Equipment
          lawfully, in accordance with the manufacturer’s instructions and shall not alter the
          Equipment without our prior written consent (see schedule B).

    8.    INSURANCE. You shall provide, maintain and pay for (a) insurance against the loss or
          theft or damage to the Equipment, for the full replacement value thereof, with the loss
          payable to us, and (b) public liability and property damage insurance naming us as an
          additional insured. All insurance shall be in form and amount and with companies
          satisfactory to us and shall contain the insurer's agreement to give 30 days’ written notice
          to us before cancellation or material change of any policy of insurance. Upon our request,
          you shall deliver the policies or copies thereof or certificates of insurance to us. Failure to
          maintain insurance upon the Equipment as required by this paragraph shall constitute
          default of this agreement.

    9.    LOSSES OR DAMAGE. No loss or damage to the Equipment or any part thereof shall
          relieve you of your obligation to pay each and every total payment or other obligation under
          this Rental Agreement. In the event of any such loss or damage, and after you have satisfied
          all obligations under section 7 hereof, we, at our option shall (a) place the Equipment in
          good condition and repair or (b) replace the Equipment with like equipment in good
          condition and repair. Title to the Equipment, whether repaired or replaced shall at all times
          remain with us.

    10.   OWNERSHIP; PERSONAL PROPERTY. The Equipment shall at all times remain the
          property of Rental Service, and you have no right or interest in it except the right to use it
          as expressly set forth herein. The Equipment is and shall at all times remain personal
          property, whether or not it is affixed or attached to real property or improvements thereon.



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    11.   TAXES. As we direct, you shall pay all charges and taxes incurred after __________,
          2019, (local, state, and federal) incurred by us which may now or hereafter be imposed or
          levied upon the sale, purchase, ownership, rental, possession, or use of the Equipment,
          excluding, however all taxes on or measured by our income. You shall keep the Equipment
          free and clear of all liens and encumbrances.

    12.   INDEMNITY. You shall indemnify, defend, and hold us harmless from any claims or
          causes of action concerning the rental, possession, use, performance, or condition of the
          Equipment, and from any costs, expenses, damages, fines, loss or amounts paid in
          settlement of claims or causes of action arising from the rental, possession, use,
          performance, condition, or return of the Equipment, except for Rental Service’s liability
          for claims arising directly from Rental Service’s negligent maintenance or repair of the
          equipment. Your obligations under this section shall survive the expiration or termination
          of this Rental Agreement.

    13.   ASSIGNMENT, OFFSET. You may not assign, transfer, or sublet any interest in this
          Rental Agreement or the Equipment without our consent. We may assign this Rental
          Agreement or mortgage the Equipment, or both, in whole or in part without notice to you.
          If you receive notice, you will acknowledge receipt thereof in writing. Each assignee or
          mortgagee shall have all of the rights, but none of the obligations under this Rental
          Agreement. In the event this Rental Agreement is assigned to a third party, Rental Service
          shall remain responsible for performance of the necessary maintenance and repairs
          described in paragraph numbers one (1) and seven (7) above, and Schedule B attached
          hereto, unless assignment thereof is agreed upon by the parties. You shall not assert against
          any assignee or mortgagee any defense, counterclaim, or offset you may have against us.
          This Rental Agreement inures to the benefit of and is binding upon the heirs, legatees,
          successors, and assigns of the parties hereto.

    14.   LATE PAYMENT CHARGES. (a) Late Charge. Since it would be impractical or
          extremely difficult to fix our actual damages for collecting and accounting for a late
          payment, if any payment to us required herein is not paid on or before its due date, you
          shall pay to us an amount equal to four percent (4%) of any such late payment (but not less
          than $5.00) provided, however, that not more than one such service charge shall be made
          on any delinquent payment, regardless of the length of the delinquency. (b) Interest. You
          shall also pay interest on any such late payment from the due date thereof until the date
          paid at the lesser of 1 1/2% per month or the maximum rate allowed by law.

    15.   DEFAULT/TERMINATION: Without prejudice to our other remedies at law, in equity
          or otherwise provided herein, if you fail to pay when due any amount required herein or
          under any other rental agreement or agreement between us, or if your failure to perform
          any other obligation hereunder or thereunder continues for thirty (30) days after we demand
          in writing performance thereof, we shall have the right to recover the rental amounts then
          past due and, in addition, exercise any one or more of the following remedies:

              (a) We may take possession of any or all of the Equipment, which shall not terminate
              this Rental Agreement and re-rent the Equipment or any portion of it, for such period
              and for such amount, and to such persons as we shall elect and apply the proceeds of
              any such re-renting, after deducting all costs and expenses incurred in connection with
              the recovery, repair, storage, and re-renting of the Equipment in payment of the rent
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              and other obligations due us from you under this Rental Agreement with you remaining
              responsible for any deficiency; or

              (b) We may take possession of the Equipment and sell it or any portion of it a public
              or private sale, without demand or notice of intention to sell, and apply the proceeds of
              any such sale, after deducting all costs and expenses incurred in connection with the
              recovery, repair, storage and sale of the Equipment in payment of the rent and other
              obligations due us from you under this Rental Agreement with you remaining
              responsible for any deficiency and if we are unable to sell or otherwise dispose of
              equipment within a reasonable time, we may recover from you an amount not less than
              the sum of the rental agreement payments and other amounts as set forth in this Rental
              Agreement; or

              (c) Terminate this Rental Agreement and take possession of the Equipment. A
              termination hereunder shall only occur upon our written notice to you and only with
              respect to the item or items of equipment which we specifically elect to terminate in
              such notice. Except as to such item or items with respect to which there is a termination
              this Rental Agreement shall continue in full force and effect and you shall be obligated
              to perform all acts and to pay all rental and other amounts required with respect to the
              remaining items of Equipment under this Rental Agreement.

          Should you file for protection from creditors under any provision of the bankruptcy laws
          of the United States, such filing shall be sufficient to constitute a default under this Rental
          Agreement and all remedies for default shall be available to Rental Service at that time,
          regardless of any action taken or not taken by any bankruptcy court or trustee, and
          regardless of the status of payments made by you to that time.

    16.   RENTER'S EXPENSE. You shall pay us all costs and expenses, including reasonable
          attorney's fees we incur in enforcing any of the terms, conditions, or provisions hereof.

    17.   NOTICES. Service of all notices under this Rental Agreement shall be sufficient if given
          personally, mailed, delivered by courier or by facsimile transmission, to the recipient at its
          respective address set forth on this agreement, or at such other address as said party may
          provide in writing from time to time. Any mailed notice or confirmation shall be effective
          3 days after it is deposited in the United States mail, duly addressed and with postage
          prepaid.

    18.   EQUIPMENT RETURN. Upon termination of this Rental Agreement by default, you will
          return the Equipment by delivering it to us at your cost at any reasonable location we
          specify in the same condition as it was in when delivered to you, reasonable wear and tear
          resulting from proper use alone excepted. Should you fail to return the Equipment as
          required, then and in that event Rental Service shall be entitled to payment from you for
          all amounts incurred in reacquiring the Equipment, including but not limited to cartage or
          transportation services, shipping costs, duties, fees, and/or rental of equipment or services
          necessary for such reacquisition.

          Upon termination of this Rental Agreement, regardless of the reason therefor, should the
          Equipment not be in the same condition as it was in when delivered to you, reasonable
          wear and tear resulting from proper use alone excepted, then and in that event you shall be
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          liable to pay to Rental Service an amount necessary to compensate it for any reduction in
          fair market value caused by such condition, as well as for loss of rental income caused by
          the failure to return the Equipment in proper condition.

    19.   MISCELLANEOUS. This Rental Agreement constitutes the entire agreement between
          the parties as to the subject matter contained herein, and it shall not be amended, altered,
          or changed, except by a written agreement signed by the parties hereto. No provision of
          this Rental Agreement can be waived except by our written consent. You shall provide us
          with such documents as we shall reasonably request from time to time. If more than one
          renter is named in this Rental Agreement, liability shall be joint and several. If we so
          request, you shall execute such documents as we shall request or require, including a
          financing statement. However, you authorize us to sign and file a financing statement on
          your behalf where permitted by the Uniform Commercial Code and you authorize us to do
          all other acts which we may reasonably deem necessary to protect our interests hereunder.
          This is a contract of rent only and is not intended as security and nothing shall create in
          you or give you any equity or other property interest in the Equipment. Any financing
          statement filed by us is intended only to give public notice of our ownership of the
          Equipment.

    20.   RENT SCHEDULE. If you later rent additional personal property from us which is
          described in one or more schedules of additional rented equipment, any future schedule we
          and you execute which is identified as being a part of this Rental Agreement shall be
          deemed to incorporate by reference all the terms and conditions of this Rental Agreement
          except as provided in any such schedule.

    21.   LAWS GOVERNING ENTIRE AGREEMENT: This Rental Agreement, and any
          addenda attached hereto and incorporated herein, as well as any amendments hereto signed
          by both parties, shall be governed by the laws of the State of Oklahoma.

    22.   ENTITLEMENT TO RECOVERY: Any dispute, controversy or claim arising out of or
          relating to this Rental Agreement or breach thereof shall be subject to binding arbitration.
          Such arbitration shall:

          (a) be conducted before the American Arbitration Association;

          (b) be conducted in accordance with the rules of the American Arbitration Association;

          and

          (c) be conducted in Tulsa, OK.

          In the event of arbitration under this provision, the arbitrator shall award, and the prevailing
          party shall recover from the other party, all expenses incurred in connection with the
          arbitration, including, but not limited to, reasonable and necessary attorneys’ fees.

    23.   OTHER TERMS: We will have the right to audit your records as we deem necessary. In
          the case of fraudulent reporting, you will be in default under this Rental Agreement and we
          will have the rights set out in Paragraph 15, above.


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 THE ABOVE AGREEMENT IS CONTINGENT UPON APPROVAL OF CUSTOMER'S
 CREDIT.

 IN WITNESS WHEREOF, the parties hereto have executed this agreement as of the day and year
 first above written.


 Hospital Equipment Rental Company                      Washington County Hospital


 By:__________________________                          By:___________________________
 Title: ________________________                        Title:__________________________




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        Hospital Equipment Rental Company
                                           SCHEDULE B

         EQUIPMENT MAINTENANCE AND REPAIR AGREEMENT
    1. EMERGENCY SERVICE: We agree to provide ordinary service during the term of this
       agreement from 8:00 A.M. to 5:00 P.M., five (5) days per week, Monday through Friday,
       excluding the legal holidays listed in paragraph 10, to keep the Equipment in good working
       order. In the event of an emergency, you may request us to provide emergency service, and we
       will do so expeditiously. In the event that our local service technician cannot respond in a
       timely manner, we agree to provide emergency service by sending the nearest available General
       Electric service engineer. For purposes of this agreement, AN EMERGENCY WILL BE
       DEEMED TO EXIST WHENEVER THE CUSTOMER REQUIRES THE USE OF THE
       EQUIPMENT DURING THE HOURS SPECIFIED IN THIS PARAGRAPH, BUT THE
       EQUIPMENT IS INCAPABLE OF PERFORMING IN THE MANNER REQUIRED BY
       THE CUSTOMER AT THAT TIME.

    2. PREVENTATIVE MAINTENANCE SERVICE: We shall provide the preventative
       maintenance service recommended by the manufacturer of the Equipment. Such preventative
       maintenance service shall comply with the manufacturer's specifications. Preventative
       maintenance shall be performed monthly, between the hours of 8:00 A.M. and 5:00 P.M.,
       Monday through Friday (other than the legal holidays specified in paragraph 10). Preventative
       maintenance service may be performed concurrently with emergency service. Customer should
       not confuse emergency service with preventative maintenance service; each is distinctively
       different from the other. For the purpose of this agreement, PREVENTATIVE
       MAINTENANCE IS ROUTINE SCHEDULED MAINTENANCE ACCORDING TO
       MANUFACTURER'S SPECIFICATIONS.

    3. FREE AND SAFE ACCESS: You shall provide us free and safe access to the Equipment on
       each date that service and other associated work is to be performed. If you or your
       representatives, agents, employees or independent contractors do not promptly provide free
       and safe access and assistance in the manner provided by this paragraph, we will be relieved
       of our obligation to perform any services during the time that such access or assistance is being
       denied.

    4. EXTRA CHARGES: In the event that we agree to perform the following additional service
       (such not being required by the terms of this agreement), such additional services shall subject
       to an extra charge of $120.00 per hour, with a minimum charge of two (2) hours. After hours
       specified in paragraph 7, and on Saturdays, a rate of $120.00 per hour will apply. On Sundays
       and Legal Holidays, a charge of $180.00 per hour will apply. Travel time will be at a rate of
       $65.00 per hour and all charges will be computed portal to portal. The following additional
       services are subject to extra charges:
           (a) Preventative maintenance requested by the customer to be performed outside the hours
               specified in Paragraph 8.
           (b) Services outside the scope of service to be performed under this agreement and
           performed upon the written request of the customer.

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    5. EXCLUSIONS: This agreement does not include: service, or repair required as a result of
       misuse, abuse or other improper operation, damage to the Equipment resulting from external
       causes; reimbursement for services provided by, or contracted with others; work required to be
       performed at a location other than the locations specified in paragraph 3; installation of new
       accessories, peripherals, or devices; moving of equipment; or certified radiation surveys.

    6. REPLACEMENT PARTS: Except as otherwise provided by this agreement (See attached
       addenda for any additional coverage), we shall provide all necessary replacement parts
       including tube replacement, at no additional charge to you.

    7. CONSUMABLES: You will, at your cost provide all necessary consumables, (including, but
       not limited to: X-Ray, Polaroid, and special purpose film) and the use of process facilities
       required by us for emergency service.

    8. LOST PROFITS: In the event we fail to perform our obligations hereunder, you shall not be
       entitled to recover any lost profits from us.

    9. NON-RESPONSIBILITY: We shall not be responsible or liable for any failure to render
       services herein described due to strikes, illness of personnel, manufacturer’s inability to supply
       replacement parts or any other cause beyond our control.

    10. LEGAL HOLIDAYS: Legal holidays as referred to in this agreement will be the following:

        Labor Day                                               Martin Luther King’s Birthday
        Washington’s Birthday                                   Thanksgiving Day
        Veterans Day                                            Day after Thanksgiving
        Good Friday                                             Christmas Eve (after 2:00 p.m.)
        Memorial Day                                            New Year’s Eve (after 2:00 p.m.)
        Independence Day                                        New Year’s Day

          IN WITNESS WHEREOF, the parties hereto have executed this agreement as of the day and
 year first above written.


 Hospital Equipment Rental Company                              Washington County Hospital


 By: _________________________                                  By: _________________________




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         Hospital Equipment Rental Company

                                          SCHEDULE A


 1 x GE LightSpeed 16 Helical CT System

 1 x GE A1 Main Disconnect Panel for LightSpeed 16

 1 x Eaton Powerware 9155-10 UPS Power Protection System

 1 x Medrad Injector




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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                               GREENVILLE DIVISION

 IN RE:                           )
                                  )                            Case No. 19-00730-5-JNC
 CAH ACQUISITION COMPANY #1, LLC, )
 d/b/a  WASHINGTON     COUNTY )                                Chapter 11
 HOSPITAL,                        )
                                  )
           Debtor.                )
                                  )

   NOTICE OF TRUSTEE’S MOTION FOR AUTHORITY PURSUANT TO SECTION
     363(B) OF BANKRUPTCY CODE TO ENTER INTO LEASE AGREEMENT
      BETWEEN DEBTOR AND HOSPITAL EQUIPMENT RENTAL, LLC FOR
                  GE LIGHT SPEED 16 SLICE CT SCANNER

      NOTICE IS HEREBY GIVEN that the Trustee has filed the TRUSTEE’S MOTION FOR
 AUTHORITY PURSUANT TO SECTION 363(B) TO ENTER INTO LEASE AGREEMENT
 BETWEEN DEBTOR AND HOSPITAL EQUIPMENT RENTAL COMPANY FOR GE
 LIGHT SPEED 16 SLICE CT SCANNER (the “Motion”).

        FURTHER NOTICE IS HEREBY GIVEN that the Motion filed by the Trustee may be
 allowed provided no responses and request for hearing is made by a party-in-interest in writing to the
 Clerk, United States Bankruptcy Court, P.O. Box 791, Raleigh, NC 27602, within TWENTY-ONE
 (21) DAYS from the date of this notice, and,

        FURTHER NOTICE IS HEREBY GIVEN that any responses to the Motion shall also be
 mailed to the Trustee at the address given below.

         FURTHER NOTICE IS HEREBY GIVEN that, if a response and request for hearing is filed
 by a party-in-interest in writing within the time indicated, a hearing will be conducted on the Motion
 and Response thereto at a date, time, and place to be later set by the Court, and all interested parties
 will be notified accordingly. If no request for hearing is timely filed, the Court may rule on the
 Motion and any Response thereto ex parte without further notice.

        DATE OF NOTICE: July 15th, 2019

                                          WALDREP LLP

                                          /s/ Jennifer B. Lyday
                                          Thomas W. Waldrep, Jr. (NC State Bar No. 11135)
                                          James C. Lanik (NC State Bar No. 30454)
                                          Jennifer B. Lyday (NC Bar No. 39871)


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                                Francisco T. Morales (NC Bar No. 43079)
                                101 S. Stratford Road, Suite 210
                                Winston-Salem, NC 27104
                                Telephone: 336-717-1440
                                Telefax: 336-717-1340
                                Email: notice@waldrepllp.com

                               - and –

                                HENDREN, REDWINE & MALONE, PLLC

                                Jason L. Hendren (NC State Bar No. 26869)
                                Rebecca F. Redwine (NC Bar No. 37012)
                                4600 Marriott Drive, Suite 150
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                               Attorneys for the Trustee




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